      Case: 1:20-cv-02453 Document #: 14 Filed: 05/26/20 Page 1 of 2 PageID #:160




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DAVID EVANS III, RASHID MUHAMMAD,
MONTA SERVANT, FELISHA PARNELL,
TIMOTHY PARKER, DWIGHT ANDERSON,
JOSEPH TINOCO, and FRANK DONIS on behalf of
themselves and all others similarly-situated,
                                                          Case No. 20-cv-2453
              Plaintiffs,
                                                          The Honorable Judge
v.                                                        Rebecca Pallmeyer

THOMAS J. DART, Sheriff of Cook County,                   Magistrate Judge Kim
and the COUNTY OF COOK, ILLINOIS, a unit of
local government as joint employer for FLSA
purposes and as indemnitor, RAMON D. WILLIAMS
(Individual Capacity), and ANTHONY MCGEE                  JURY DEMANDED
(Individual Capacity),

              Defendants.

                                   NOTICE OF MOTION

TO:     Mona Lawton, Esq.    mona.lawton@cookcountyil.gov

        PLEASE TAKE NOTICE THAT ON July 16, 2020 at 8:45 a.m., I shall appear
before the Honorable Judge Rebecca Pallmeyer, Courtroom 2541, Everett McKinley
Dirksen Federal Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604 and present
the attached Plaintiffs’ Motion For Leave to File Second Amended Complaint in the above-
captioned matter. A copy is included herewith.

                                                  Respectfully submitted,

                                                  /s/ Cass T. Casper

                                                  Plaintiffs’ Attorney


Cass T. Casper (ARDC # 6303022)
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    Case: 1:20-cv-02453 Document #: 14 Filed: 05/26/20 Page 2 of 2 PageID #:161




                                CERTIFICATE OF SERVICE

    The undersigned, an attorney, hereby certifies that the foregoing document and all attachments
thereto were served upon counsel for Defendants Thomas J. Dart and Cook County via email, and
that such counsels are registered e-filers.


                                             /s/Cass T. Casper




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